

People v Welsh (2021 NY Slip Op 05301)





People v Welsh


2021 NY Slip Op 05301


Decided on October 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2021

Before: Webber, J.P., Singh, Scarpulla, Mendez, Rodriguez, JJ. 


Ind. No. 2815/10 Appeal No. 14291 Case No. 2016-2171 

[*1]The People of the State of New York, Respondent,
vGilbert Welsh, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Lauren E. Jones of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Ellen Stanfield Friedman of counsel), for respondent.



Order, Supreme Court, New York County (Larry Stephen, J.), entered on or about May 10, 2013, which, adjudicated defendant a level three sexually violent predicate sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The totality of the information presented to the court constituted clear and convincing evidence to warrant the point assessment under the risk factor for alcohol abuse, under the standard set forth in People v Palmer (20 NY3d 373, 378-379 [2013]).
The court properly exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). The circumstances of the underlying crime and defendant's prior record outweigh any mitigating factors and demonstrate that he poses a high risk of reoffense.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2021








